   Case 2:10-md-02179-CJB-DPC Document 6650-1 Filed 06/11/12 Page 1 of 5




                                          APPENDIX

First Category - Subgroup One (Woods Declaration B.i.).

       Subgroup number one concerns email threads entitled “Re: Suggested Language from DOE.”

There are five documents within this subgroup. The U.S. withheld them as internal pre-decisional

and deliberative discussions of a proposed directive to BP related to response actions.

       Document no. 1.

       The document is numbered DSE001-000431-33. It is dated June 7, 2010. The author is

Admiral Allen of DHS. Marcia McNutt of DOI and others are recipients.

       Document no. 2.

       The document is numbered DSE001-000437-40. It is dated June 7, 2010. The author is

Admiral Allen of DHS. Carol Browner of EOP and others are recipients.

       Document no. 3.

       The document is numbered DSE001-002468-71. It is dated June 7, 2010. The author is

Carol Browner of EOP. Kenneth Salazar of DOI and others are recipients.

       Document no. 4.

       The document is numbered DSE001-011841-44. It is dated June 7, 2010. The author is

Steven Chu of DOE. Admiral Allen of DHS and others are recipients.

First Category - Subgroup Two (Woods Declaration B.ii.).

       Subgroup number two consists of only one document concerned with draft language

proposed for a government directive to BP.

       Document no. 5.

       The document is numbered DSE001-015877-79. It is dated August 14, 2010. The author

is Dan Utech of DOE. Admiral Allen of DHS and others are recipients. The U.S. withheld the
   Case 2:10-md-02179-CJB-DPC Document 6650-1 Filed 06/11/12 Page 2 of 5




email as an internal pre-decisional and deliberative discussion of proposed directive to BP related

to response actions.

First Category - Subgroup Three (Woods Declaration B.iii.).

       Subgroup number three concerns a test protocol. There are five documents within this

subgroup. The U.S. withheld the documents either as internal pre-decisional discussions of edits

to proposed protocol or as an internal pre-decisional and deliberative discussions of a proposed

directive to BP related to response actions.

       Document no. 6.

       The document is numbered SAT007-09353-54. It is dated August 2, 2010. The author is

Richard Garwin SA. Kathryn Morgan of EOP and others are recipients.

       Document no. 7.

       The document is numbered DSE001-009191. It is dated August 2, 2010. The author is

Alexander Solcum of SA. Douglas Blankenship of DOE and others are recipients.

       Document no. 8.

       The document is numbered DSE001-005829. It is dated August 1, 2010. The author is

Kathryn Morgan of EOP. Douglas Blankenship of DOE and others are recipients.

       Document no. 9.

       The document is numbered is numbered DSE001-011331. It is dated August 2, 2010. The

author is Richard Garwin of SA. Kathryn Morgan of EOP and others are recipients.

       Document no. 10.

       The document is numbered SAT007-009107. It is dated August 2, 2010. The author is

Alexander Slocum of SA. Kathryn Morgan of EOP and others are recipients.


                                                2
    Case 2:10-md-02179-CJB-DPC Document 6650-1 Filed 06/11/12 Page 3 of 5




First Category - Subgroup Four (Woods Declaration B.iv.).

        Subgroup number four consists of only one document concerned with a proposed directive

to BP regarding its plans for drilling a relief well.

        Document no. 11.

        The document is numbered DSE001-008598-99. It is dated August 13, 2010. The author

is Kathryn Morgan of EOP. Richard Garwin of SA and others are recipients. The U.S. withheld the

email as an internal pre-decisional and deliberative discussion of a proposed directive to BP related

to response actions.

Second Category - Subgroup One (Woods Declaration C.i.).

        Subgroup number one consists of only one document concerned with the continuation of the

well shut-in test.

        Document no. 12.

        The document is numbered is SAT007-006667-68. It is dated July 16, 2010. The author is

Kathryn Morgan of EOP. John Holdren of EOP and Richard Garwin of SA are the recipients. The

U.S. withheld the email as an internal pre-decisional and deliberative discussion of policy issues

relating to the response.

Second Category - Subgroup Two (Woods Declaration C.ii.).

        Subgroup number two consists of only one document concerned with the government

response to BP’s plans for drilling the relief well.

        Document no. 13.

        The document is numbered is SAT007-001763-65. It is dated August 13, 2010. The author

is Kathryn Morgan of EOP. Richard Garwin of DOE is the recipient. The U.S. withheld the email


                                                   3
    Case 2:10-md-02179-CJB-DPC Document 6650-1 Filed 06/11/12 Page 4 of 5




as internal pre-decisional advice provided to senior manager regarding policy issues related to

future oil exploration.

Second Category - Subgroup Three (Woods Declaration C.iii.).

        Subgroup number three consists of only one document concerned with shutting in the well

and the risk of additional leaking.

        Document no. 14.

        The document is numbered is SAT007-006643-45. It is dated July 16, 2010. The author is

Kathryn Morgan of EOP. John Holdren of EOP and Richard Garwin of SA are the recipients. The

U.S. withheld the email as an internal pre-decisional and deliberative discussion of policy issues

relating to the response.

Second Category - Subgroup Four (Woods Declaration C.iv.).

        Subgroup number four consists of only one document concerned with BP’s plans for drilling

the relief well.

        Document no. 15.

        The document is numbered SAT007-008301-03. It is dated July 21, 2010. The author is John

Holdren of EOP. Richard Garwin of SA is the recipient. The U.S. withheld the email as an internal

pre-decisional and deliberative discussion of policy issues relating to the response.

Second Category - Subgroup Five (Woods Declaration C.v.).

        Subgroup number five concerns differing views about the static kill. There are six

documents within this subgroup. The U.S. withheld the emails as internal pre-decisional and

deliberative discussions of briefing regarding policy issues related to the response.




                                                 4
   Case 2:10-md-02179-CJB-DPC Document 6650-1 Filed 06/11/12 Page 5 of 5




       Document no. 16.

       The document is numbered DSE001-004782-83. It is dated July 30, 2010. The author is

John Holdren of EOP. Steven Chu and Tom Hunter of DOE are the recipients.

       Document no. 17.

       The document is numbered DSE001-004791-92. It is dated July 30, 2010. The author is

John Holdren of EOP. Steven Chu and Tom Hunter of DOE are the recipients.

       Document no. 18.

       The document is numbered DSE001-004793-94. It is dated July 30, 2010. The author is

John Holdren of EOP. Steven Chu and Tom Hunter of DOE are the recipients.

       Document no. 19.

       The document is numbered is DSE001-013017-18. It is dated July 30, 2010. The author is

Steven Chu of DOI. John Holdren of EOP and Tom Hunter of DOE are the recipients.

       Document no. 20.

       The document is numbered DSE001-013019-20. It is dated July 30, 2010. The author is

Steven Chu of DOE. John Holdren of EOP and others are recipients.

       Document no. 21.

       The document is numbered DSE001-013021-22. It is dated July 30, 2010. The author is

Steven Chu of DOE. John Holdren of EOP is the recipient.




                                             5
